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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :       CRIMINAL NO. 1:20-cr-00278-TNM
               v.                              :
                                               :
KEITH BERMAN,                                  :
                                               :
                       Defendant.              :


                        GOVERNMENT’S MOTION TO COMPEL
                      PRODUCTION OF RECIPROCAL DISCOVERY

       The United States of America, through its undersigned counsel, respectfully moves this

Court to compel the defendant to produce reciprocal discovery under Federal Rule of Criminal

Procedure 16(b)(1)(A), and to honor the letter and spirit of the Court’s December 6, 2021 minute

order regarding the exchange of witness and exhibit lists.

       On December 4, the parties filed a joint stipulation (ECF 51) for an order, which the Court

entered on December 6, requiring the parties to exchange witness and exhibit lists. On December

9, in compliance with the terms of the order, the government produced an exhibit list, which

identified exhibits the government intends to use in its case-in-chief by precise Bates numbers.

The government’s exhibit list is attached as Exhibit 1 to this filing.

       On December 23, the defendant sent his exhibit list, which is attached as Exhibit 2 to this

filing. This document lists seventeen exhibits by name, without corresponding Bates numbers or

other identifying information. Immediately after receiving this list, the government requested that

the defendant “please confirm that you have either received these documents from us, or have

produced them to us, and please send us Bates numbers for these documents so we can identify

them?” Counsel for the defendant has not responded to the government’s request.
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        Federal Rule of Criminal Procedure 16(b)(1)(A) requires that, upon request of the

government, “the defendant must permit the government [] to inspect and to copy or photograph

books, papers, documents, data, photographs, tangible objects, buildings or places, or copies or

portions of any of these items if: (i) the item is within the defendant's possession, custody, or

control; and (ii) the defendant intends to use the item in the defendant's case-in-chief at trial.”1

The defendant has listed seventeen items on his exhibit list; some of these may be documents, and

others (such as Exhibit N, “GenViro Package and Contents”) may be tangible objects. The

defendant has identified items, but without sufficient precision to allow the government to be

certain as to their nature and contents. The government is entitled, under the law, to inspect and

copy these items before they are introduced during a trial which begins in under one week, and the

defendant is required to provide the government with a sense of what exhibits he intends to use.

        Rule 16(b)(1)(A), and the Court’s December 6, 2021 order, seek to further the same

objective: a fair and orderly trial. The defendant’s exhibit list fails to further that objective. The

Court should order the defendant to provide to the government, no later than December 31, 2021,

copies of the exhibits (or, if they are tangible objects, the opportunity to inspect) that the defendant

plans to use in his case-in-chief, or, if they were previously produced, Bates numbers to identify

them.

                                               Respectfully submitted,

                                               JOSEPH S. BEEMSTERBOER
                                               Acting Chief, Fraud Section
                                               Criminal Division

                                       By:     /s/


1 The government formally requested reciprocal discovery in a letter accompanying its first
production to the defendant, on January 26, 2021.
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                                 CERTIFICATE OF SERVICE

       I certify that on December 28, 2021, I filed a true and correct copy of the foregoing with
the Clerk of Court via ECF.

                                                    /s/ Justin Weitz




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